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                                                                      FILED IN THE
                                                                  U.S. DISTRICT COURT
                                                            EASTERN DISTRICT OF WASHINGTON



                                                              Jul 14, 2022
                                                                 SEAN F. MCAVOY, CLERK
WAWD CM/ECF Version 1.7.0                                           https://wawd-ecf.sso.dcn/cgi-bin/DktRpt.pl?710883014645552-L_1_0-1
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                                                                                                           BOND,CLOSED

                                             U.S. District Court
                United States District Court for the Western District of Washington (Seattle)
                       CRIMINAL DOCKET FOR CASE #: 2:22-mj-00296-MLP-1


         Case title: USA v. Leingang                                         Date Filed: 07/06/2022

         Other court case number: 1:22-CR-2056-MKD Eastern District          Date Terminated: 07/13/2022
                                  of Washington, Yakima


         Assigned to: Hon. Michelle L. Peterson

         Defendant (1)
         Tyler Joseph Leingang                           represented by Corey Endo
         TERMINATED: 07/13/2022                                         FEDERAL PUBLIC DEFENDER'S
                                                                        OFFICE (SEA)
                                                                        1601 5TH AVE
                                                                        STE 700 WESTLAKE CENTER OFFICE
                                                                        TOWER
                                                                        SEATTLE, WA 98101
                                                                        206-553-1100
                                                                        Email: corey_endo@fd.org
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED
                                                                        Designation: Public Defender or
                                                                        Community Defender Appointment

         Pending Counts                                                        Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                                                     Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                                            Disposition



1 of 3                                                                                                             7/13/2022, 5:06 PM
WAWD CM/ECF Version 1.7.0                                         https://wawd-ecf.sso.dcn/cgi-bin/DktRpt.pl?710883014645552-L_1_0-1
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         Felon in Possession of a Firearm -
         18:922(g)(1), 924(a)(2)



         Plaintiff
         USA                                               represented by Yunah Chung
                                                                          US ATTORNEY'S OFFICE (SEA)
                                                                          700 STEWART ST
                                                                          STE 5220
                                                                          SEATTLE, WA 98101-1271
                                                                          206-553-7970
                                                                          Email: yunah.chung@usdoj.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Assistant US Attorney


         Date Filed       # Docket Text
         07/06/2022      1 CHARGING DOCUMENT RECEIVED FROM the Eastern District of Washington as to
                           Tyler Joseph Leingang. (TLJ) (Entered: 07/06/2022)
         07/06/2022          Arrest of Tyler Joseph Leingang on 7/6/2022. (TLJ) (Entered: 07/06/2022)
         07/06/2022      4 ORDER APPOINTING FEDERAL PUBLIC DEFENDER appointing Corey Endo for
                           Tyler Joseph Leingang. On the basis of the defendant's sworn financial statement, the
                           court finds that he/she is financially unable to retain counsel. It is hereby ORDERED that
                           the Federal Public Defender for the Western District of Washington be and hereby is
                           appointed to represent the defendant pursuant to Title 18 United States Code 3006A.
                           Approved by Hon. Michelle L. Peterson. (No.pdf image attached) (TLJ) (Entered:
                           07/06/2022)
         07/06/2022      5 Minute Entry for proceedings held before Hon. Michelle L. Peterson- CRD: T. Johnson;
                           AUSA: Yunah Chung, Tom Woods; Def Cnsl: Corey Endo; PTS: Leona Nguyen; Court
                           Reporter: Digital Recording; Time of Hearing: 2:00PM; Courtroom: 12B; INITIAL
                           APPEARANCE AND DETENTION HEARING IN RULE 5(c)(3) PROCEEDINGS
                           as to Tyler Joseph Leingang held on 7/6/2022. Defendant present in custody. Defendant
                           advised of rights. Financial Affidavit reviewed. Counsel appointed. Defendant advised of
                           charges and penalties in the Eastern District of Washington. Defense counsel requests an
                           Identity hearing. Court withholds signing Order of Transfer and sets Identity Hearing.
                           Parties agree with PTS recommendation for release. For reasons stated on the record,
                           defendant ORDERED released and placed on bond with special conditions.

                             R5 Identity Hearing set for 7/13/2022 at 11:00 AM in Courtroom 12B before Hon. S.
                             Kate Vaughan. (TLJ) (Entered: 07/06/2022)
         07/06/2022      6 Appearance Bond Entered as to Tyler Joseph Leingang (1) PR with Supervision and
                           special conditions. (cc: PTS/USPO/USMO) (TLJ) (Entered: 07/06/2022)
         07/13/2022      7 Minute Entry for proceedings held before Hon. S. Kate Vaughan- CRD: S. Prather;
                           AUSA: Tom Woods for Yunah Chung; Def Cnsl: Corey Endo; Court Reporter: Digital
                           Recording; Time of Hearing: 11:00AM; Courtroom: 12B; RULE 5(c)(3) STATUS
                           HEARING as to Tyler Joseph Leingang held on 7/13/2022. Defendant present on bond.


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WAWD CM/ECF Version 1.7.0                                        https://wawd-ecf.sso.dcn/cgi-bin/DktRpt.pl?710883014645552-L_1_0-1
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                            Court reviews record. Defendant waives Identity Hearing. Court signs Order of Transfer.
                            Defendant remains on bond. (SNP) (Entered: 07/13/2022)
         07/13/2022     8 WAIVER OF RULE 5 HEARINGS AND ORDER OF TRANSFER to District of Eastern
                          District of Washington as to Tyler Joseph Leingang by Hon. S. Kate Vaughan. (cc: PTS,
                          USMO) (SNP) (Entered: 07/13/2022)
         07/13/2022     9 LETTER to the Eastern District of Washington regarding Rule 5 Transfer as to defendant
                          Tyler Joseph Leingang. (SNP) (Entered: 07/13/2022)




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